Case 2:06-cv-07213-MVL-DEK Document 165-3 Filed 02/03/09

24

25

56
what I have seen, yes.
t asked you earlier if those were all
the procfts of loss that you are relying
upon.
I can't think of any others at’ this
point, no. You've seen all the letters
that went back and forth on this claim.
It's very simple. "Pay me the money.
The loss exceeds my policy."
So with regards to when you say, "IRI
has failed to accept the insured's
presentation of damage," are you
referring to what you previously
identified in this deposition as the
PPSB proofs of loss?
The proofs of loss, the letter summation
from LeBlanc, and the inspections alone
were obvious enough that the damage
exceeded the policy, starting in
September cf 2005. Everybody that was
involved in the adjustment process.in
this loss knew the insured suffered a
significant loss. All of that was part
of -- visual inspections alone say I

have been really damaged in this.

Page 1 of 3

Case 2:06-cv-07213-MVL-DEK Document 165-3 Filed 02/03/09

57
Let me make this clear. You didn't
perform any valuations of damage
assessments, did you?
Certainly, I did. I made the assessment
that the damages exceeded sixteen anda
half million dollars by basing it on
what I saw in the file, based on the
people's belief of what they saw, and I
attributed it to covered loss based on
the facts in the claims file that IRI
put together and the insured
communicated back and forth.
Mr. Amoruso, my question is: Did you
yourself perform a damage assessment of
the buildings that are involved in this
lawsuit?
I believed that the damage the insured
suffered exceeded sixteen and a half
miilion dollars.
Did you do a damage estimate?
I've written thousands of them.
Did you do one in this case?
Certainly.
Can IT have a copy of your damage

assessment?

Page 2 of 3

Case 2:06-cv-07213-MVL-DEK Document 165-3 Filed 02/03/09 Page 3 of 3

58
1 oA. I just told you how I arrived at it. TI
2 don't have to physically see the
3 buildings. I can see the description
4 put together by others.
5 Q. Is it correct te say then that you did
6 not do a damage assessment in this case
7 by physically inspecting the buildings
8 and determining the extent of damage
9 sustained by each building?
10° «A. IT haven't done that in 20 years.
11 6. So the answer to my question is you
12 haven't done it?
13 =«OAsC The answer is, no, I have not seen these
14 buiidings. My assessment was done based
15 on my experience and my authorization
16 ievel of being the guy -- I haven't made
17 an inspection of a building in years,
18 but I have made decisions of
19 authorization to give people payment on
20 the basis of seeing the facts in the
21 case,
22 Q. Let me go back to this. When you say
23 that IRI failed to accept the insured's
24 presentation of damage, are you

25 referring to -- I want to get it

